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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                       Chapter 11

             BLINK HOLDINGS, INC., et al., 1                              Case No. 24-11686 (___)

                                                Debtors.                  (Joint Administration Requested)


                 DECLARATION OF STEVEN SHENKER, CHIEF RESTRUCTURING OFFICER
                      OF THE DEBTORS, IN SUPPORT OF CHAPTER 11 PETITIONS
                                   AND FIRST DAY MOTIONS

                            I, Steven Shenker, hereby declare under penalty of perjury that the following is true

         and correct:

                            1.       I am the Chief Restructuring Officer of Blink Holdings, Inc. (“Blink”) and

         certain of its subsidiaries and affiliates that have filed voluntary petitions before this Court (each

         a “Debtor” and, collectively, the “Debtors” or the “Company”). I was appointed to this role

         concurrently with the filing of the Chapter 11 Cases (as defined below). I have over 10 years of

         experience serving in a variety of roles, including in management positions and as a financial

         advisor and investment banker. I joined Triple P RTS, LLC (“Portage Point”) in June 2020, and

         have served as a Managing Director since January 2024. Prior to joining Portage Point, I held a

         variety of roles, including founding member and Vice President at private equity firm, Periphas

         Capital, LP, from 2018 to 2020; Associate at the Carlyle Group Inc. from 2016 to 2018; and

         Investment Banking Analyst at Moelis & Company LLC (“Moelis”) from 2014 to 2016. In 2014,



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               The last four digits of Blink Holdings, Inc.’s federal tax identification number are 6354. The mailing address for
               Blink Holdings, Inc. is 45 West 45th Street, 10th Floor, New York, New York 10036. Due to the large number
               of debtors in these chapter 11 cases, a complete list of the Debtors, the last four digits of their federal tax
               identification numbers, and their addresses are not provided herein. A complete list of such information may be
               obtained on the website of the Debtors’ proposed claims and noticing agent at
               https://dm.epiq11.com/BlinkFitness, or by contacting the proposed undersigned counsel for the Debtors.
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         I received a B.S. in Business & Management with a concentration in Finance from the Sy Syms

         School of Business at Yeshiva University. Prior to becoming CRO, I advised the Debtors in my

         capacity as a Managing Director of Portage Point. Portage Point has advised the Debtors since

         June 12, 2024.

                          2.      Portage Point has assisted, advised, and provided strategic advice to

         debtors, creditors, bondholders, investors, and other entities in numerous chapter 11 cases of

         similar size and complexity to the Debtors’ chapter 11 cases. I have personally been involved in

         recent comparable chapter 11 reorganizations such as In re Center for Autism and Related

         Disorders, LLC, No. 23-90709 (CML) (Bankr. S.D. Tex June 12, 2023), where I served as Chief

         Restructuring Officer, In re Bouchard Trans., Co., Inc., No. 20 34682 (DRJ) (Bankr. S.D. Tex.

         October 22, 2020), where I served as Deputy Chief Restructuring Officer; In re Teligent, Inc., No.

         21-11332 (BLS) (Bankr. D. Del. October 14, 2021), in which I served as a financial advisor to the

         company; In re IEH Auto Parts Holding LLC (Auto Plus), No. 23-90054 (CML) (Bankr. S.D. Tex.

         Jan. 31, 2023); and In re Hornbeck Offshore Servs., LLC, No. 20 32685 (DRJ) (Bankr. S.D. Tex.

         May 19, 2020). I specialize in advising senior executives, boards of directors, and creditors in

         distressed situations.

                          3.      On the date hereof (the “Petition Date”), the Debtors filed voluntary

         petitions with the Court (collectively, the “Chapter 11 Cases”) for relief under chapter 11 of title

         11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”). The Debtors

         intend to operate their business and manage their properties as debtors-in-possession pursuant to

         sections 1107 and 1108 of the Bankruptcy Code.

                          4.      Each of the Debtors are indirect subsidiaries of Equinox Group LLC

         (“Equinox Group”). The Debtors comprise four holding companies and 134 operating entities,

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         which each either manage an individual fitness center or were created for such purpose. Blink is

         the borrower under the Prepetition Credit Agreement (as defined herein) and its assets, along with

         each of its subsidiaries’ assets and Blink Company Intermediate Holdco Inc.’s equity ownership

         in Blink, have been pledged as collateral to the Prepetition Lenders pursuant to the Prepetition

         Credit Agreement (as such terms are defined below). Equinox Group is not a debtor in these cases,

         and it is not anticipated that it, or any of its affiliates other than the Debtors, will be filing

         bankruptcy petitions.

                         5.      I submit this declaration (this “Declaration”) to assist the Court and parties-

         in-interest in gaining an understanding of the circumstances that led to the commencement of the

         Chapter 11 Cases, and in support of the Debtors’ petitions and pleadings requesting various forms

         of “first day” relief (collectively, the “First Day Motions”), which have been filed to minimize

         the adverse effects of filing for chapter 11 protection and enhance the Debtors’ ability to maximize

         value for the benefit of their estates and creditors.

                         6.      I am over the age of 18 years and authorized to submit this Declaration on

         behalf of the Debtors. If called as a witness, I could and would competently testify to the matters

         set forth herein. In my capacity with the Debtors, I am familiar with the Debtors’ day-to-day

         operations, business affairs, financial condition, and books and records. The facts set forth in this

         Declaration are based on my service with the Debtors, my review of the Debtors’ books and

         records and other relevant documents, and my review of information compiled and communicated

         to me by other employees of the Debtors and the Debtors’ professional advisors.

                         7.      Prior to the commencement of the Chapter 11 Cases I, among other things,

         (i) reviewed and discussed the Debtors’ strategy regarding the development of potential

         restructuring and sale alternatives; (ii) supervised the preparation of the documentation needed to


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         implement the restructuring initiatives contemplated during the Chapter 11 Cases; and

         (iii) consulted on a regular basis with the Debtors’ other senior management members and outside

         advisors with respect to the foregoing.

                        8.      This Declaration provides an overview of the Company’s business and

         corporate history, as well as a discussion of the events that compelled the commencement of the

         Chapter 11 Cases, a description of the Company’s capital structure, its strategy to maximize the

         value of the business, and its efforts to obtain debtor-in-possession financing. The Declaration

         also affirms and incorporates the facts that support the relief requested in the First Day Motions.

         I.     Introduction

                        9.      As explained in detail below, the Debtors are a leading provider of fitness

         services in the high value, low price fitness category. The Debtors deliver a premium fitness

         experience, emphasizing inclusivity and positive messaging, using a simplified club infrastructure,

         which has enabled the Debtors to scale their business model.

                        10.     The Debtors launched their brand in 2011 with only three locations in New

         York and New Jersey. By 2019, the Debtors had expanded to 92 corporate-owned locations and

         10 franchised locations in New York, New Jersey, Massachusetts, Texas, Illinois, and California,

         and had just launched a proprietary mobile application to enhance member experience. At the

         height of the COVID-19 pandemic, all of the Debtors’ clubs were forced to temporarily close as a

         result of regulatory mandates. The COVID-19 pandemic put a temporary, but immediate, halt to

         the Debtors’ business, leaving the Debtors without revenue to fund operations.

                        11.     Nevertheless, the Debtors’ business model proved resilient. After pandemic

         restrictions subsided, the Debtors re-opened their clubs and announced new strategic initiatives to

         improve performance, enhance member satisfaction and experience, and expand club offerings to

         include updated equipment and personal training programs.
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                         12.     Notwithstanding the Debtors’ efforts to invest in member experience and

         infrastructure, which has resulted in increased membership (directly correlating to increased

         revenue), the Debtors have suffered from liquidity constraints resulting from, among other things,

         the effects of the pandemic, including burdensome lease deferral obligations incurred when the

         Debtors’ clubs temporarily closed, substantial funded debt obligations, and a subset of

         underperforming clubs that contributed a significant negative impact on EBITDA in the twelve-

         month period leading up to the Petition Date.

                         13.     The Debtors, therefore, have been in close communications and discussions

         with their major stakeholders, including the Prepetition Lenders (as defined below), regarding

         business strategies and plans. Leading up to the Petition Date and in consultation with the

         Prepetition Lenders, the Debtors retained the services of Moelis, Portage Point, and Young

         Conaway Stargatt & Taylor, LLP (collectively, the “Restructuring Professionals”) to assess

         strategic alternatives, including financing and sale alternatives. In addition, the Debtors have taken

         necessary actions to right-size their balance sheet and reassess their real estate and club footprint

         as part of their overall strategic plan.

                         14.     The Debtors intend to utilize the chapter 11 process to enhance liquidity

         through debtor-in-possession financing to allow for a value-maximizing sale process. In addition,

         the Debtors anticipate using the tools of the Bankruptcy Code to (i) restructure their balance sheet,

         a process that is necessary to place the company on strong footing, and (ii) negotiate certain of

         their leases with landlords to further position the Debtors for future success. As the national focus

         on exercise and overall healthy lifestyles continue to bolster the health club industry, the Company

         believes that it is well positioned to benefit from these dynamics as an operator with a recognized

         brand name, leading regional market shares, and an established operating history.


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         II.       Overview of the Company

                             15.      As summarized above, the Company is a leading owner and operator of

         fitness clubs in the United States, specifically in the Northeast region, California, Illinois, and

         Texas, and maintains its headquarters in New York, New York. 2 As of the Petition Date, the

         Company, or its franchisors, operated 101 fitness clubs 3 under the Blink Fitness brand name,

         collectively serving approximately 443,000 members as of June 2024.

                             16.      As of the Petition Date, the Debtors employed, in the aggregate,

         approximately 2,074 employees. Approximately 2,005 employees work on an hourly basis, while

         the remainder work on a salaried basis. The Debtors’ employees are not covered by a collective

         bargaining agreement.

                             17.      Since launching in 2011, the Company has developed and refined its club

         formats, which has allowed the Company to cost-effectively construct and efficiently operate

         fitness clubs, optimizing the Debtors’ ability to scale its model. The Company’s club locations—

         in suburban and urban areas—coupled with the Company’s brand ethos of inclusivity and positive

         messaging has positioned the Company to attract a diverse customer base, led by the “Generation

         Z” population. As of the Petition Date, more than 65% of the Company’s membership is younger

         than 35 years old.




         2
               A chart detailing the organizational structure of the Debtors as of the Petition Date is attached hereto as Exhibit A.
         3
               Comprising 94 corporate-owned clubs and 7 franchised clubs.
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                        18.     The Company seeks to provide a broad array of high-quality exercise

         programs and equipment that are popular and effective, promoting a quality exercise experience

         for members. Clubs typically have an open fitness area to accommodate cardiovascular and

         strength-training equipment, as well as special purpose rooms for group fitness classes and other

         exercise programs. The Company offers members electronic check-in and scheduling, on-demand

         fitness classes, and lifestyle tips through its proprietary mobile application.




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                        19.        Members have the option to choose an annual or monthly membership plan,

         with three tiers of service available, ranging in price from $15 to $45 per month, as of the Petition

         Date. In addition, the Company charges an annual maintenance fee. Revenue is primarily

         generated from membership fees, but the Company also generates revenue from the sale of

         personal training services, partnership fees, retail merchandise, vending, and royalties.

                        20.        In early 2024, as part of its efforts to increase membership, bolster its brand,

         and improve membership experience, the Company announced a reinvestment in thirty (30) of its

         most popular fitness clubs, in furtherance of which the Company purchased more than 1,700 pieces

         of strength and cardiovascular equipment, updated club interiors, and partnered with wellness

         brands to offer supplemental fitness recovery options, which efforts have resulted in (a) increased

         membership satisfaction; (b) a 164% increase in total marketing impressions (i.e., advertising

         “views”); (c) a 57% increase in total market coverage; and (d) a 224% increase in Estimated Media

         Value, in each case based on a preliminary year over year analysis. During the same period, total

         revenue has increased by more than 5% and the average revenue per member has increased by

         more than 10%. The Company anticipates that recent trends will persist with continued investment

         in its brand and clubs.

         III.   Franchised Fitness Clubs

                        21.        Blink Fitness Franchising, Inc. (“BFF”) is a wholly owned subsidiary of

         Blink. BFF grants franchise rights to counterparties to develop and operate health and fitness

         centers that provide cardiovascular and strength training equipment and related products and

         services. Franchised clubs operate under mandatory and suggested specifications, standards,

         operating procedures and rules, as specified by the Company. As of the Petition Date, BFF has

         seven (7) franchised club locations, and has sold but not opened several locations in connection

         with twelve (12) development rights agreements.
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         IV.    Transition Services Agreement

                        22.    In an effort to achieve greater cost savings and efficiencies with respect to

         certain back office, human resources, software, and other support services, the Company entered

         into that certain Transition Services Agreement, dated December 1, 2016 (as subsequently

         amended, the “TSA”), with non-Debtor affiliate, Equinox Holdings, Inc. (“EHI”), pursuant to

         which EHI provides, among other things, services and personnel to the Debtors that are essential

         to the Debtors’ operations (the “Shared Services”). Specifically, in the ordinary course of

         business and pursuant to the TSA, EHI incurs the cost of the Shared Services, including certain

         personnel and legal expenses, and procures certain shared benefits programs and contracts, such

         as certain of the Company’s insurance policies, along with the Company’s medical, dental, and

         vision plans, which are then offered to the Company’s workforce, as applicable. The contracts

         associated with such programs are negotiated by EHI, taking advantage of EHI’s size and number

         of fitness brands, reputation, and business relationships, on terms that are likely more favorable

         than Company could otherwise independently obtain, which permits the Company to achieve

         operational efficiencies, including a reduced workforce and reduced technology and other

         infrastructure and overhead costs. The Company and EHI negotiate an annual fee for the Shared

         Services, which is subject to adjustment and payable weekly in arrears in cash, on pricing terms

         that the Company believes is at or better than pricing that would be provided in an arm’s-length

         transaction. In August 2024, the Company and EHI entered into an amendment of the TSA to

         reflect the increase in services provided by EHI to support the Debtors’ chapter 11 preparation and

         administration, and the terms by which such services would be compensated. The Shared Services

         provide the Company with valuable services that enhance the Company’s enterprise value, and the

         Shared Services (and the transactions necessitated thereby) are essential to the Company’s

         operations.
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         V.     The Prepetition Capital Structure

                         23.      As of the Petition Date, the Debtors’ capital structure consists of

         outstanding funded secured debt, funded unsecured debt, and trade and other miscellaneous debt,

         in the aggregate amount of $280.8 million, as illustrated in the following table and described in

         detail below.

                               Outstanding Obligation                 Amount
                         Secured Funded Debt                       $161.4 million
                         Unsecured Funded Debt                     $103.5 million
                         Trade and Other Obligations                $15.9 million
                         Total:                                    $280.8 million

                A.       Secured Funded Debt Obligations

                         24.      On November 8, 2018, Blink, as borrower, and the other Debtors, as

         guarantors, entered into that certain Credit and Guaranty Agreement with Varagon Capital

         Partners Agent, LLC (the “Prepetition Agent”), as administrative agent, and the other

         participating lenders thereunder (collectively with the Prepetition Agent, the “Prepetition

         Lenders” and such agreement, as amended, modified, supplemented, and including all of the

         ancillary documents related thereto, the “Prepetition Credit Agreement”). The Prepetition

         Credit Agreement provided the Debtors with a $145 million senior secured credit facility

         (the “Senior Credit Facility”). The Senior Credit Facility consisted of a $70 million term loan

         facility, drawn at closing (the “Term Loan Facility”), $50 million of delayed-draw term loans,

         and a $25 million revolving loan facility, which increased by $5 million in 2019 (the “Revolving

         Loan Facility”). The borrowings under the Senior Credit Facility are guaranteed and secured by

         assets and pledges of capital stock by Blink, Blink Company Intermediate Holdco Inc., and the

         wholly owned subsidiaries of Blink.


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                       25.     Subsequently, the Company and the Prepetition Lenders entered into a

         series of amendments to the Prepetition Credit Agreement, which, among other things, provided

         for (a) an additional $30 million of delayed-draw term loans; (b) deferred certain interest

         payments; and (c) waived principal payments, events of default, and various covenants. With

         respect to that certain amendment executed on November 15, 2022, the Company and the

         Prepetition Lenders amended the Prepetition Credit Agreement to eliminate and replace the net

         leverage financial covenant with a minimum consolidated adjusted EBITDA covenant. As

         consideration for such amendment, the Company repaid $35 million of the Senior Credit Facility

         with funds received from a subordinated note facility provided by Equinox Group, as detailed

         below. Such funds were used to retire the Revolving Loan Facility and pay down $5 million of

         the Term Loan Facility. The Senior Credit Facility matures on November 8, 2024.

                       26.     Leading up to the Petition Date, on July 17, 2024 and July 30, 2024, the

         Debtors and the Prepetition Lenders further amended the Prepetition Credit Agreement

         (collectively, the “Protective Advance Amendments”) to, among other things, provide for

         approximately $6.9 million in protective advances (collectively, the “Prepetition Protective

         Advances”) that served as bridge financing in support of the Debtors’ prepetition sale and

         marketing process and to provide the Debtors with sufficient runway to file the Chapter 11 Cases.

         Pursuant to the Protective Advance Amendments and as a condition to funding the Prepetition

         Protective Advances, the Debtors agreed that the obligations associated with the Prepetition

         Protective Advances would be “rolled up” into a postpetition credit facility to be funded by the

         Prepetition Lenders in connection with the Chapter 11 Cases, as discussed more fully below.

                       27.     As of the Petition Date, the outstanding balance owed to the Prepetition

         Lenders under the Prepetition Credit Agreement, including the obligations associated with the


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         Prepetition Protective Advances, is approximately $161.4 million, inclusive of accrued and unpaid

         interest (all such amounts, the “Prepetition Loan Obligations”).

                 B.     Unsecured Funded Debt Obligations

                        28.     On September 30, 2020, Equinox Group and the Company entered into that

         certain Subordinated Unsecured Revolving Promissory Note (the “Subordinated Note”), by and

         between Blink and Equinox Group, whereby Equinox Group agreed to provide the Company with

         a $12.5 million subordinated loan (the “Note Payable”), the funding of which was a condition

         under that certain Waiver and Seventh Amendment to Credit Agreement, by and among the

         Company and the Prepetition Lenders, in connection with the Prepetition Lenders’ waiver of an

         event of default under the Prepetition Credit Agreement. As of the Petition Date, the outstanding

         balance, including interest, of the Note Payable is approximately $20.6 million.

                        29.     On November 15, 2022, Equinox Group provided funding to Blink in

         connection with a subsequent amendment of the Prepetition Credit Agreement, where, in

         connection with the amendment of the Prepetition Credit Agreement, Blink and Equinox Group

         entered into that certain Subordinated Unsecured Revolving Promissory Note whereby Equinox

         Group agreed to fund a $55 million line of credit (the “Line of Credit”), which was later increased

         to $67.5 million and has been fully drawn. As of the Petition Date, the outstanding balance,

         including interest, of the Line of Credit is $82.9 million.

                        30.     The obligations under the Note Payable and Line of Credit accrue interest

         on a quarterly basis that is paid-in-kind (PIK) at a rate of 13% per annum and mature on May 8,

         2025.

                 C.     Trade and Other Obligations

                        31.     As a fitness club operator, the Debtors have certain obligations to trade

         creditors in respect of their ordinary course operations, equipment, and leased facilities.
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         Specifically, the Company finances fitness equipment from third-party lenders through the

         issuance of notes payable, which require monthly payments and accrue interest at varying rates.

         In addition, the Company has incurred various rent obligations, including those associated with

         COVID pandemic rent deferral agreements, and is a party to certain pending litigation matters

         involving personal injury allegations, wage and employment claims, and breach of contract claims

         of the type typically associated with an operator in the fitness club industry. As of the Petition

         Date, the Debtors estimate that they have approximately $15.9 million in outstanding trade

         liabilities and other miscellaneous unsecured obligations.

         VI.    Circumstances Leading to the Commencement of the Chapter 11 Cases

                A.      The COVID-19 Pandemic

                        32.    In early 2020, state and local governments exercised emergency executive

         authority to combat the spread of the COVID-19 pandemic and required the Company to

         temporarily close its fitness clubs. Consequently, substantially all of the Company’s operations

         were suspended, significantly impacting membership revenues for a period of nine (9) months.

                        33.    As the Debtors’ operations ceased and membership revenues were

         suspended, the Company took immediate steps to reduce operating costs, conserve cash, and

         secure additional sources of funding, including negotiating waivers of certain events of default

         under the Senior Credit Facility, obtaining funds pursuant to the Subordinated Note, and engaging

         with landlords for rent concessions and related relief. These efforts supported the Company

         through the closure of its clubs, but left the Company significantly overleveraged.

                        34.    Beginning in early 2022, the Company engaged a multinational investment

         and financial services company to assess strategic alternatives for an out-of-court transaction;

         however, that process did not yield indications of interest at values that the Company determined

         would be actionable. Concurrently, the Company retained a commercial real estate advisory firm
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         (the “Real Estate Broker”) to approach the Company’s landlords in an effort to renegotiate and

         amend leases with lower rents or negotiate lease terminations where appropriate. Ultimately, the

         Real Estate Broker reached agreements on improved terms for a number of locations. However,

         such efforts were insufficient to meaningfully impact long-term liquidity issues.

                B.      Recent Prepetition Sale and Restructuring Efforts

                        35.      Given the Company’s liquidity challenges, as well as the impending

         maturity of the Prepetition Loan Obligations, the Company engaged the Restructuring

         Professionals to solicit interest in, and consult regarding, a refinancing of the Company’s secured

         indebtedness or a sale of substantially all of the Company’s assets in either an in-court or out-of-

         court transaction.    In support thereof, the Company and the Restructuring Professionals

         constructed detailed cash forecasts and analyses, compiled and analyzed substantial diligence

         materials for use in a sale process, drafted marketing and communications materials, and

         coordinated with stakeholders and parties in interest, including the Prepetition Lenders and

         Equinox Group, regarding potential financing proposals.

                        36.      In July 2024, the Company began actively marketing its assets to a targeted

         group of potential purchasers by distributing non-disclosure agreements (each, an “NDA”), a

         confidential information memorandum, a high-level financial model, and an overview of specific

         gym-level performance. To further support these parties in advancing their diligence efforts, the

         Company provided tailored ad hoc diligence information, ensuring purchasers had access to

         specific information needed for informed decision-making. This approach has successfully

         attracted substantial interest, resulting in several non-binding indications of interest from multiple

         credible bidders. The Debtors’ advisors continue to engage actively with these interested parties,

         underscoring the robust participation and competitive nature of the sale process for nearly all of

         the Company's assets.
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                        37.     In addition, to support the Company’s prepetition marketing efforts, the

         Prepetition Lenders agreed to provide bridge financing in the form of the Prepetition Protective

         Advances, as discussed above, to ensure that the Company could continue to satisfy ongoing

         obligations, thus maintaining operational status quo and preserving the value of the Company’s

         assets, while the Company simultaneously engaged in marketing outreach and prepared the

         documents and pleadings necessary to commence the Chapter 11 Cases.

                        38.     To further support the Company’s restructuring efforts and in consultation

         with the Restructuring Professionals and the Company’s stakeholders, the Company created a

         special restructuring committee for each of its boards of directors (the “Restructuring

         Committee”), effective as of June 23, 2024, and delegated to the Restructuring Committee the

         right, responsibility, and power to manage all matters and make all final decisions regarding a

         potential restructuring. In connection therewith, the Company retained and appointed Emanuel

         Pearlman as an independent director to serve as the sole member of the Restructuring Committee.

         VII.   Debtor in Possession Financing

                        39.     As further described in the Declaration of Andrew Swift in Support of

         Debtors’ Motion for Interim and Final Orders (I) Authorizing Debtors to Obtain Postpetition

         Financing and Use Cash Collateral; (II) Granting Liens, Super-Priority Claims, and Adequate

         Protection; (III) Modifying the Automatic Stay; (IV) Scheduling a Final Hearing; and

         (V) Granting Related Relief, filed concurrently herewith, the Debtors secured a superpriority

         senior secured multiple draw term loan credit facility (the “DIP Facility”), pursuant to that certain

         Senior Secured Priming and Superpriority Debtor-in-Possession Credit and Guaranty Agreement

         (including any exhibits, amendments, and ancillary documents related thereto, the “DIP Credit

         Agreement,” the lenders party thereto, the “DIP Lenders,” and the obligations thereunder,


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         the “DIP Obligations”) in the aggregate principal amount of $73.5 million (the “Maximum

         Commitment”), consisting of (a) new money term loan commitments in the maximum aggregate

         principal amount of $21 million (the “New Money DIP Loans”, and the portion of such Maximum

         Commitment attributable to the New Money DIP Loans, the “New Money Maximum

         Commitment”), of which (1) upon entry of an interim order approving the DIP Facility

         (the “Interim DIP Order”), up to $10.5 million in principal amount of such New Money DIP

         Loans shall be made available to be drawn prior to entry of a final order approving the DIP Facility

         (the “Final DIP Order” and together with the Interim DIP Order, the “DIP Orders”), subject to

         satisfaction of the other applicable conditions set forth in the Interim DIP Order and the DIP Credit

         Agreement, and (2) upon entry of the Final DIP Order, up to the full New Money Maximum

         Commitment (net of such commitment already drawn), shall be made available to be drawn subject

         to the satisfaction of the other applicable conditions set forth in the DIP Credit Agreement and the

         DIP Orders; and (b) a roll-up, upon entry of the Interim DIP Order, of the obligations in respect of

         the Prepetition Protective Advances and certain Prepetition Obligations in the aggregate amount

         of approximately $17.4 million into DIP Obligations pari passu with the New Money DIP Loans

         and, upon entry of the Final DIP Order, approximately $35 million, consisting of a portion of the

         obligations due under the Prepetition Credit Agreement (other than Protective Advances and

         interest thereon) held by the Prepetition Lenders who are also DIP Lenders, shall be rolled up and

         converted into DIP Loans on a pro rata basis.

                        40.     The DIP Facility provides the Debtors with an essential cash infusion and

         time to pursue a value maximizing sale transaction in the Chapter 11 Cases in accordance with the

         milestones set forth in the DIP Facility. However, the Debtors believe that lingering in the chapter

         11 process for too long could erode value. Accordingly, the milestones provided for in the DIP


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         Facility balance the desire for additional marketing with the need for a quick and efficient chapter

         11 process.

                        41.      The Debtors believe that certain parties identified during their prepetition

         marketing efforts as well as new parties will have interest in pursuing an acquisition of the Debtors

         or their assets either in whole or part. The Debtors also believe that the runway provided by the

         DIP Facility and the framework provided by a sale process, including the ability to convey assets

         free and clear to a potential acquirer, is likely to lead to a successful transaction and resolution of

         the Chapter 11 Cases.

                        42.      In determining the amount of financing that the Debtors require, the Debtors

         worked with the Restructuring Professionals, under the oversight of the Restructuring Committee

         and in consultation with the Prepetition Lenders and other stakeholders, to evaluate the Debtors’

         cash requirements for their business. As part of this evaluation, I, along with my colleagues, have

         worked diligently to familiarize ourselves with the Debtors’ day-to-day operations, business

         affairs, financial performance, books and records, and restructuring efforts. As part of the Debtors’

         evaluation of their liquidity position, I, along with my team at Portage Point, worked closely with

         the Debtors’ management and other advisors to review, analyze, and assist in the development of

         the Debtors’ 13-week cash flow forecasts and to prepare a DIP sizing analysis (the “Initial DIP

         Budget”), and engaged in negotiations with the DIP Lenders concerning the Initial DIP Budget.

         These forecasts consider anticipated cash receipts and disbursements during the projection period

         and consider a number of factors, including, but not limited to, the effect of the chapter 11 filing

         on the operations of the business, fees and interest associated with postpetition financing,

         professional fees, customer and vendor obligations, as well as the expected operational

         performance of the Debtors’ business and the cost of the DIP Facility. Therefore, I believe that


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         the Initial DIP Budget, attached as Exhibit A to the proposed Interim DIP Order, would provide

         an appropriate amount of postpetition financing to allow the Debtors to administer the Chapter 11

         Cases and contemplated sale process. I believe that the Initial DIP Budget and the amounts and

         projections set forth therein are reasonable under the facts and circumstances of the Chapter 11

         Cases and provide an accurate reflection of the Debtors’ funding requirements over the identified

         period.

                        43.     Based on my and my team’s analysis of the Debtors’ current cash position

         and needs, I believe that, even assuming the Debtors have unrestricted access to cash collateral,

         they require an immediate capital infusion in the form of the DIP Facility to preserve the Debtors’

         estates for the benefit of all stakeholders. As illustrated by the Initial DIP Budget, the Debtors are

         unable to generate sufficient levels of operating cash flow in the ordinary course of business to

         cover their operating and capital costs, working capital needs, and the projected costs of the

         Chapter 11 Cases absent immediate funding.

                        44.     The DIP Facility will provide the Debtors with immediate access to

         liquidity, which will permit the Debtors to: (a) preserve their member relationships for a potential

         buyer during these Chapter 11 Cases; (b) provide working capital for their business; (c) fund

         payments to their workforce; (d) pay and continue to maintain relationships with their vendors and

         suppliers at the planned level of operating activity; (e) fund other general corporate purposes;

         (f) fund the payments authorized by the Court pursuant to the First Day Motions; (g) operate the

         Debtors’ cash management system; and (h) satisfy administrative costs and expenses of the

         Debtors incurred in these Chapter 11 Cases, each of which is essential to the Debtors’ continued

         viability and to maximizing the value of the Debtors’ estates through the planned sale process.

         Additionally, the need for access to the DIP Facility is further underscored by the fact that I do not


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         believe it would be prudent, or even possible, to administer the Chapter 11 Cases solely on a “cash

         collateral” basis with no access to additional capital. I believe that all such expenses are critical

         to the Debtors’ business and that the Debtors’ failure to make such payments will result in

         immediate and irreparable harm to the Debtors and their estates.

                        45.     Accordingly, I believe that absent immediate access to the DIP Facility, the

         Debtors could be forced to file liquidating proceedings without the opportunity to run a value-

         maximizing sale process in court. To avoid those outcomes, it is imperative that the Debtors have

         access to the DIP Facility from the outset of the Chapter 11 Cases to signal to the Debtors’

         stakeholders, including their employees, potential bidders, and customers, that they have the

         liquidity necessary to operate in the ordinary course of business while conducting a competitive

         sale process. For all these reasons, I believe that access to the proposed DIP financing is a

         necessity.

         VIII. Chapter 11 Objectives

                        46.     As noted above, over the past several years the Company has spent

         considerable time considering a range of strategic options to revitalize its operations.

         Unfortunately, due to the challenges discussed herein, the Company has been unable to service its

         senior secured debt obligations in the ordinary course of business and is facing imminent liquidity

         and maturity issues that will require an influx of capital to maintain operations. To address these

         challenges, and in an effort to maximize value for the benefit of their creditors and other

         stakeholders, the Company, in consultation with the Restructuring Professionals, the Prepetition

         Lenders, and other stakeholders, and after considering all available strategic options, determined

         that the best course to maximize value was to initiate the Chapter 11 Cases with the goal of

         (i) preserving the Company’s assets through the consummation of an asset-maximizing transaction

         and (ii) minimizing estate obligations to the extent possible.
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                        47.     Given the Company’s substantial funded debt obligations, it will be critical

         for the Company to use the public chapter 11 sale process to expand on the Company’s targeted

         prepetition marketing efforts to ensure that the Company is able to achieve the highest possible

         value for its assets. Accordingly, the Company will engage with all interested and credible parties

         that execute an NDA and will provide such parties with the diligence information necessary to

         adequately assess the Company’s assets and participate in a competitive auction process.

                        48.     In addition to negotiating the DIP Facility to provide a source of critical

         operating funds, to avoid incurring any unnecessary administrative expenses with respect to certain

         facilities where the Debtors are no longer operating and retain no assets of value, the Debtors have

         sought to reject such leases effective to the Petition Date. The Debtors will also continue to analyze

         their asset portfolio and available disposition alternatives with respect to all available assets to

         preserve and maximize estate value.

         IX.    Support for Relief Requested in the First Day Motions

                        49.     Concurrently with the filing of their chapter 11 petitions, the Debtors filed

         the First Day Motions seeking relief that is necessary to enable the Debtors to maximize the value

         of their estates while the Chapter 11 Cases are pending. The facts set forth in the First Day Motions

         are incorporated herein in their entirety.

                        50.     I am familiar with the contents of each First Day Motion (including the

         exhibits to such motions) and believe that the relief sought in each First Day Motion: (i) will

         enable the Debtors to transition into chapter 11; (ii) is critical to the Debtors’ efforts to maximize

         value through the Chapter 11 Cases and minimize expense; and (iii) best serves the interests of the

         Debtors’ creditors and other stakeholders. It is my further belief that the relief sought in the First

         Day Motions is, in each case, narrowly tailored and necessary to achieve the goals identified above.


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                        51.         The Debtors are seeking approval of the First Day Motions to ensure that

         value is preserved during the transition into chapter 11.

                        52.         To this end, the Debtors have filed the following First Day Motions:

                                i.     Debtors’ Motion for Entry of an Order Directing the Joint
                                       Administration of the Debtors’ Chapter 11 Cases;

                              ii.      Debtors’ Application for an Order Appointing Epiq Corporate
                                       Restructuring, LLC as Claims and Noticing Agent, Effective as of the
                                       Petition Date;

                              iii.     Debtors’ Motion for Interim and Final Orders (I) Authorizing Debtors
                                       to (A) Continue Operating Existing Cash Management System,
                                       (B) Honor Certain Prepetition Obligations Related Thereto,
                                       (C) Maintain Existing Business Forms, and (D) Continue to Perform
                                       Affiliate Transactions, (II) Authorizing Debtors’ Continued Use of
                                       Corporate Credit Cards and Granting Administrative Expense Status to
                                       Postpetition Credit Card Obligations; (III) Waiving Certain U.S.
                                       Trustee Guidelines; and (IV) Granting Related Relief;

                              iv.      Debtors’ Motion for Interim and Final Orders (I) Prohibiting Utility
                                       Companies from Altering, Refusing, or Discontinuing Utility Services,
                                       (II) Deeming Utility Companies Adequately Assured of Future Payment,
                                       (III) Establishing Procedures for Determining Additional Adequate
                                       Assurance of Payment, and (IV) Granting Related Relief;

                               v.      Debtors’ Motion for Interim and Final Orders, (I) Authorizing the
                                       Debtors to Pay Certain Prepetition Taxes and Fees and Related
                                       Obligations, (II) Authorizing Banks to Honor and Process Check and
                                       Electronic Transfer Requests Related Thereto, and (III) Granting
                                       Related Relief;

                              vi.      Debtors’ Motion for Interim and Final Orders (I) Authorizing the
                                       Debtors to (A) Pay Accrued Prepetition Employee Wages, Salaries, and
                                       Other Compensation; (B) Honor Commission and Bonus Obligations to
                                       Non-Insider Employees in the Ordinary Course of Business; (C) Pay
                                       Prepetition Employee Business Expenses; (D) Contribute to Prepetition
                                       Employee Benefit Programs and Continue Such Programs in the
                                       Ordinary Course of Business; (E) Pay Workers’ Compensation
                                       Obligations; (F) Remit Payments for Which Prepetition Payroll
                                       Deductions Were Made; and (G) Pay the Costs and Expenses Incident
                                       to the Foregoing Payments and Contributions; (II) Authorizing Banks
                                       to Honor and Process Check and Electronic Transfer Requests Related
                                       Thereto; and (III) Granting Related Relief;


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                              vii.    Debtors’ Motion for Interim and Final Orders (I) Authorizing
                                      (A) Payment of Prepetition Obligations Incurred in the Ordinary
                                      Course of Business in Connection with Insurance and Surety Programs,
                                      Including Payment of Policy Premiums, Broker Fees, and Claims
                                      Administrator Fees, and (B) Continuation of Insurance Premium
                                      Financing Program; (II) Authorizing Banks to Honor and Process
                                      Check and Electronic Transfer Requests Related Thereto; and
                                      (III) Granting Related Relief;

                              viii.   Debtors’ Motion for Interim and Final Orders (I) Authorizing the
                                      Debtors to Pay Certain Prepetition Claims of Critical Vendors;
                                      (II) Authorizing Banks to Honor and Process Check and Electronic
                                      Transfer Requests Related Thereto; and (III) Granting Related Relief;

                               ix.    Debtors’ Motion for Entry of Interim And Final Orders (I) Authorizing
                                      the Debtors to Maintain and Honor Certain Prepetition Customer
                                      Programs; (II) Authorizing the Debtors to Serve Customers Certain
                                      Pleadings Filed in the Chapter 11 Cases By Electronic Means;
                                      (III) Authorizing Banks to Honor and Process Check and Electronic
                                      Transfer Requests Related Thereto; and (IV) Granting Related Relief;
                                      and

                                x.    Debtors’ Motion for Interim and Final Orders (I) Authorizing Debtors
                                      to Obtain Postpetition Financing and Use Cash Collateral;
                                      (II) Granting Liens, Superpriority Claims, and Adequate Protection;
                                      (III) Modifying the Automatic Stay; (IV) Scheduling a Final Hearing;
                                      and (V) Granting Related Relief.

                        53.       I have reviewed each of the First Day Motions, and the facts stated therein

         are true and correct to the best of my belief with appropriate reliance on corporate officers and

         advisors and are incorporated herein by reference. It is my belief that the relief sought in each of

         the First Day Motions constitutes a critical element in the successful implementation of the

         Debtors’ efforts to maximize creditor recoveries, is necessary for a smooth transition into Chapter

         11 and will help to preserve the value of the Debtors’ estates. It is my further belief that, with

         respect to those First Day Motions, requesting the authority to pay specific prepetition claims or

         continue selected prepetition programs, i.e., the First Day Motions seeking relief related to the

         Debtors’ obligations to their employees, taxing authorities, vendors, service providers, customers,



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         banks, and insurers, the relief requested is necessary to avoid immediate and irreparable harm to

         the Debtors’ estates.

                         54.     The success of the Chapter 11 Cases depends upon the Debtors’ ability to

         successfully implement the value-maximizing transactions described herein. The relief requested

         in the First Day Motions is a critical component of maintaining business operations and the

         confidence of key constituencies necessary to implement a successful chapter 11 process.

                                                   CONCLUSION

                         55.     I believe approval of the relief requested in the First Day Motions is in the

         best interests of all stakeholders and respectfully request that the Court grant all relief requested in

         the First Day Motions and such other relief as may be just.

             Dated: August 12, 2024                             /s/ Steven Shenker
                                                                Steven Shenker
                                                                Chief Restructuring Officer




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                                    EXHIBIT A

                           Corporate Organizational Chart




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          Equinox
         Group LLC
         (“Group”)                                    Ownership Structure of Blink Holdings, Inc., et al.
                         Warrants

                   100% Series
     Blink
                   B Preferred
 Intermediate         Stock    Individual
Holdings II, LLC              Holders                                                                                                      Blink 2016   Equinox Holdings, Inc.
   (“BIH II”)                                                                                                                 BIH 2016    Management           (“EHI”)
                                                                                                                              Auxiliary     Options
                                              RSA      Related                       Blink                                    Options
                               Common                                            Intermediate
    Common                                  Equinox   Equinox
     Stock                      Stock                                            Holdings, LLC                                                                 Series A
                                            Holdco    Holdings,                                                                                               Preferred
   (Majority)                                                                          (“BIH”)
                                              LLC       L.L.C.                                                                                                  Stock
                                            Common     Common                          Common
                                             Stock      Stock                           Stock


                                                                    Blink Holdings II, Inc.
                                                                         (“Blink II”)




                                                         Blink Company Intermediate Holdco Inc.
                                                                 (“Intermediate Holdco”)




                                                                       Blink Holdings, Inc.
                                                                             (“BHI”)




                                                                  Blink Operating Subsidiaries
                                                                        (See Next Page)                                                                                          1
                                                                                      Direct Subsidiaries of Blink Holdings, Inc.
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                                                                                                Blink Holdings, Inc. (DE)
                                                                                                                                   100%
1. 692 Broadway Fitness Club, Inc. (NY)                       39. Blink Amboy Road Inc. (NY) f/k/a Blink 1239 Fulton,                78. Blink Islandia, Inc. (NY)                           117.Blink Stonebrook, Inc. (IL)
2. Bergen Town Center Fitness Club, Inc (NJ)                      Inc.*                                                              79. Blink Jamaica Avenue, Inc. (NY)                     118.Blink Sunset Park, Inc. (NY)
3. Blink 101 W 87th Street Inc. (IL)*                         40. Blink Ashland Inc. (IL)                                            80. Blink Jerome Avenue, Inc. (NY)                      119.Blink Union, Inc. (NJ)
4. Blink 1060 W Alameda, Inc. (CA)                            41. Blink Ashland Avenue, Inc. (IL)                                    81. Blink Journal Square, Inc. (NJ)                     120.Blink Utica Avenue, Inc. (NY)
5. Blink 1065 6th Avenue, Inc. (NY)                           42. Blink Atlantic Avenue, Inc. (NY)                                   82. Blink Keller, Inc. (TX)                             121.Blink Valley Stream, Inc. (NY)
6. Blink 108-14 Roosevelt, Inc. (NY)                          43. Blink Atlantic Ave LB Inc. (CA)                                    83. Blink Kendall Market Place Inc. (FL)*               122.Blink Webster Avenue, Inc. (NY) - f/k/a Blink Boston
7. Blink 1134 Fulton, Inc. (NY)                               44. Blink Avenue A, Inc. (NY)                                          84. Blink Kenwood, Inc. (IL)                               Post Road, Inc.
8. Blink 116th Street, Inc. (NY)                              45. Blink Baldwin, Inc. (NY)                                           85. Blink Knickerbocker, Inc. (NY)                      123.Blink West 8th Street, Inc. (NY)
9. Blink 12201 Victory Blvd Inc. (CA)*                        46. Blink Beach Street, Inc. (TX)                                      86. Blink KWT Holdco LLC (DE)                           124.Blink West 31st Street, Inc. (NY)*
10. Blink 125 Park, Inc. (NY)                                 47. Blink Bedford, Inc. (TX)*                                          87. Blink Linden, Inc. (NJ)                             125.Blink West Islip, Inc. (NY)
11. Blink 125th Street, Inc. (NY)                             48. Blink Belleville Inc. (NJ)*                                        88. Blink Liberty Avenue, Inc. (NY)                     126.Blink Westchase Inc. (TX)
12. Blink 130 W.G. Street, Inc. (CA)                          49. Blink Bissonnet, Inc. (TX)                                         89. Blink Lodi, Inc. (NY)                               127.Blink White Plains, Inc. (NY)*
13. Blink 16th Street, Inc. (NY)*                             50. Blink Braddock Avenue Inc. (NY)                                    90. Blink Long Point, Inc. (TX)                         128.Blink Whitman, Inc. (PA)
14. Blink 16123 Bellflower Blvd., Inc. (CA)                   51. Blink Brentwood, Inc. (NY)                                         91. Blink Macombs Road, Inc. (NY)                       129.Blink Williamsbridge, Inc. (NY)
15. Blink 18th Avenue, Inc. (NY)*                             52. Blink Broadway Marketplace, Inc. (NY)                              92. Blink Melville, Inc. (NY)                           130.Blink Willingboro, Inc. (NJ)
16. Blink 19500 Plummer, Inc. (CA)*                           53. Blink Brookhurst, Inc. (CA)                                        93. Blink Metropolitan Avenue, Inc. (NY)                131.Blink Wissinoming, Inc. (PA)
17. Blink 2192 Texas Parkway, Inc. (TX)                       54. Blink Clifton, Inc. (NJ)                                           94. Blink Miramar Parkway Inc. (FL)                     132.Cross County Fitness Club, Inc. (NY)
18. Blink 229 E. Foothill Boulevard, Inc. (CA)*               55. Blink Commercial Boulevard, Inc. (FL)*                             95. Blink Myrtle Avenue, Inc. (NY) - f/k/a Blink 3780
19. Blink 2374 Grand Concourse, Inc. (NY)                     56. Blink Compton & Central Avenue, Inc. (CA)*                             Broadway, Inc.
20. Blink 2465 Jerome Inc. (NY)                               57. Blink Concourse Holdings, Inc. (NY)                                96. Blink Nassau Street, Inc. (NY)
21. Blink 2862 Fulton Street, Inc. (NY)*                      58. Blink Courtesy Plaza Inc. (IL)                                     97. Blink Newark, Inc. (NJ)
22. Blink 287 Broadway, Inc. (NY)                             59. Blink Deerwood Inc. (FL)*                                          98. Blink Normandie Avenue, Inc. (CA)
23. Blink 2883 3rd Avenue, Inc. (NY)                          60. Blink Diversey, Inc. (IL)*                                         99. Blink North 10th Street Corp. (NY)*
24. Blink 3779 Nostrand, Inc. (NY)                            61. Blink East 54th Street, Inc. (NY)                                  100.Blink Nostrand Avenue, Inc. (NY)
25. Blink 56-02 Roosevelt, Inc. (NY)                          62. Blink East Orange, Inc. (NJ) - f/k/a Blink Bellville, Inc.         101.Blink NRH, Inc. (TX)
26. Blink 600 Third Avenue, Inc. (NY)                         63. Blink East Tremont Avenue, Inc. (NY)                               102.Blink Nutley, Inc. (NJ)
27. Blink 69th Street Inc. (PA)*                              64. Blink Eighth Avenue, Inc. (NY)                                     103.Blink Pacific Boulevard, Inc. (CA)
28. Blink 78-14 Roosevelt, Inc. (NY)                          65. Blink Farmers Boulevard Inc. (NY)                                  104.Blink Parsippany, Inc. (NJ)
29. Blink 79th Holdings Inc. (FL)*                            66. Blink Fitness Franchising, Inc. (DE)                               105.Blink Passaic, Inc. (NJ)
30. Blink 8201 Broadway Inc. (TX)                             67. Blink Fitness Rialto Inc. (CA)                                     106.Blink Paterson, Inc. (NJ)
31. Blink 833 Flatbush, Inc. (NY)                             68. Blink Flatlands Avenue, Inc. (NY)                                  107.Blink Perth Amboy, Inc. (NJ)
32. Blink 88th Street, Inc. (NY) - f/k/a Blink Hylan          69. Blink Fourth Avenue, Inc. (NY)                                     108.Blink Plainfield, Inc. (NJ)
    Boulevard, Inc. (NY)*                                     70. Blink Frankford Avenue, Inc. (PA)                                  109.Blink Richmond Road, Inc. (NY)*
33. Blink 886 Broadway, Inc. (NY)                             71. Blink Fulton Street, Inc. (NY)                                     110.Blink Ridgeland Ave., Inc. (IL)
34. Blink 97-01 Northern Blvd., Inc. (NY)                     72. Blink Gates, Inc. (NY)                                             111.Blink Riverdale, Inc. (NY)
35. Blink 9901 S. Alameda, Inc. (CA)                          73. Blink Georgetown Inc. (NY)*                                        112.Blink Selden, Inc. (NY)*
36. Blink 98th Street, Inc. (NY) - f/k/a Blink 25 Broadway,   74. Blink Hawthorne, Inc. (NJ)*                                        113.Blink South Orange, Inc. (NJ)
    Inc.                                                      75. Blink Hicksville, Inc. (NY)                                        114.Blink Southern Boulevard, Inc. (NY)
37. Blink Abrams Road Inc. (TX)*                              76. Blink Highway 249, Inc. (TX)                                       115.Blink St. Ann’s Avenue, Inc. (NY)*
38. Blink Airline Drive, Inc. (TX)                            77. Blink Irvington Inc. (NJ)*                                         116.Blink Steinway Street, Inc. (NY)




                                                                                                                                                                                                                                                        2
Direct Subsidiaries of Blink Holdings, Inc.
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     Blink Holdings, Inc. (DE)


                            100%




                 Blink SER Portfolio, Inc. (DE)




                            100%




               1. Blink North Riverside LLC (IL)

                 2. Blink Gage Park LLC (IL)




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